                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 BAILEY REYNOLDS and HELEN   )
 MARTINEZ on behalf of themselves
                             )
 and all others similarly situated,
                             )
                             )
      Plaintiffs,            )
                             )                     No. 1:18-cv-00423-CCE-LPA
              v.             )
                             )
 FIDELITY INVESTMENTS        )
 INSTITUTIONAL OPERATIONS    )
 COMPANY, INC., FMR LLC,     )
 FIDELITY BROKERAGE SERVICES )
 LLC, and FIDELITY WORKPLACE )
 INVESTING LLC,              )
                             )
      Defendants.            )

                        JOINT NOTICE OF SETTLEMENT

      Plaintiffs, Bailey Reynolds and Helen Martinez, individually and on behalf of

others similarly situated, and Defendants, Fidelity Investments Institutional Operations

Company, Inc.; FMR LLC; Fidelity Brokerage Services LLC; and Fidelity Workplace

Investing LLC (collectively, the "Parties"), pursuant to the Court's Order dated September

17, 2018, hereby notify the Court that the Parties have reached an agreement in principle

to resolve this action as a result of the mediation on December 14, 2018. The parties are

currently negotiating the terms of a final settlement agreement, which will be filed with

the Court along with a motion to approve the terms of settlement. The parties will




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endeavor to submit their Joint Motion for Preliminary Approval of Class-Wide

Settlement, proposed Settlement Agreement, and all other related documents to the Court,

within sixty (60) days from the date of this filing, February 22, 2018.

      Respectfully submitted on December 24, 2018.

  /s/ Gilda Adriana Hernandez                    /s/Richard G. Rosenblatt (pro hac vice)
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                                                 Counsel for Defendants




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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 24, 2018, I electronically filed the foregoing

true and accurate copy of the JOINT NOTICE OF SETTLEMENT with the Court

using the CM/ECF system, and I hereby certify that I have thereby electronically served

the document to the following:


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